v Case 2:05-cv-02133-BBD-dkv Document 5 Filed 07/01/05 Page 1 of 3 Page|D 6

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IN THE UNITED sTATEs DISTRICT CoURr
FoR rHE wEsTERN DIsrRlCr oF TENNESSEE 2035 JU\_ -\ ppg l= 15
wEsTERN DlesIoN
UNITED sTArEs oF AMERICA and ) CLER;€`G`S“;§§ riot (§)@W
MARLENE EADY, REvENUE oFFICER oF ) W;D OF \N turns
the u\ITERNAL REvENUE sERvICE, )
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Petitioner ) ca -n
c‘) 'J'\ "-=
v. ) ease No 05 2133 r)v_,,r:..'. ¢__ g
) §§ (-";" m
CEDRIC Z. CHISM, ) lieng 51 "
) e;§§’- ,%_
Respondent ) §§ 3 \

 

,§ _ -- iv
MOTION OF THE UNTTED STATES TO RESET HEAR]NG ON 311 p
PETITION TO ENFORCE [RS SUMMONS

The United States moves the Court for an order resetting the hearing on the Petition to
Enforce IRS Summons.
ln support of the motion the United States would show the Court that it filed a Petition to
Enforce Surnmons on February 16, 2005. At the request of the Governrnent a hearing on the
Petition was set for May 23, 2005, conditioned upon obtaining service of the Petition on the
Respondent The Petition and Order Setting Hearing were delivered to the U.S. Marshal for
service on the Respondent The U.S. Marshal has made efforts to serve the Respondent without
success. ln the absence of obtaining service on the Respondent, the Court entered an order
resetting the hearing on the Petition for July 14, 2005. Since the resetting of the hearing the
Marshal and the undersigned have made additional efforts to obtain service on the Respondent
without success. The United States seeks an order resetting a hearing on the Petition given the

possibility that the Petition may not be served on the Respondent prior to July 14"‘ and the

undersigned will be out of the City durMT~t/Ul§vg)fd A:'NF\:EBble to pursue obtaining '

 
 
  

Th\s document entered on the docket
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service on the Respondent.

By:

Respectfully submitted,

TERRELL L. HARRlS
United States Attorney

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Gary A. V asel< (BPR 4675)
Assistant .S. Attorney
Suite 811

   
     

_200 Jet`ferson Avenue

Mernphis, TN 38103

ISTRICT COURT WESTRNE ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 5 in
case 2:05-CV-02133 was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

Gary A. Vanasel<

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

